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UNITED STATES DISTRICT COURT
FOR THE
EASTERN DISTRICT OF LOUISIANA

 

UNITED STATES OF AMERICA _)
Plaintiff, )

)

V. ) CASE NO: 15-289 ’N”

)

TIMOTHY WILLIAMS, )
Defendant. )

)

 

MOTION IN RESPONSE TO SUBPOENA
PURSUANT TO L.S.A.-R.S. 46:56(H)

NOW INTO COURT, through undersigned counsel, comes the Department of
Children and Family Services, and in response to the subpoena issued to the Department
of Children & Family Services responds, pursuant to L.S.A.-R.S. 46:56(H), as set forth
below. The Department is not a party and not privy to the issues in this matter.

1. DCFS received the subpoena duces tecum on April 4, 2017 and
promptly conducted a search for the requested records that might be
associated with the litigants herein.

2. R.S. 46:56 (H) prohibits discovery or subpoena of Department
employees or records in any suit in which the Department is not a
party for the confidentiality of those persons involved in the foster
care of children, investigation of abuse or neglect of children, or
other child welfare services administered by the Department, but R.S.
46:56 (H) (2) and (3), provides for production of agency records, to
be sealed by the Court, and only made available to the litigants after
an im camera inspection by the Court for a determination of
relevancy and/or discoverability, bound by the limits of
confidentiality and privacy.

3. The search for records in this matter resulted in no records being
located, pursuant to the provisions of Children’s Code Art. 615 (E).

 

 
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FURTHER, undersigned counsel certifies that a copy of this motion has been
faxed and/or sent by first class mail on the day of filing to the requesting attorney, but not
to the attorney for any other party, as the undersigned is unaware of the identity of other
counsel or any other parties who may have made the subpoena request.

Respectfully submitted:

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Family Services/Bureau of General Counsel
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ORDER
Considering the response to be good and sufficient pursuant to L.S.A.-R.S.
46:56(H) and Children’s Code Art. 615(B),
IT IS ORDERED that the subpoena issued to the Department of Children &
Family Services is hereby satisfied.

New Orleans, Louisiana, this day of , 2017.

 

JUDGE
